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IN THE UNITED sTATEs DISTRICT coURT F_ILER M
FoR THE WESTERN DISTRICT oF TENNESSEE “ ~~- ' '
WESTERN DIvIsIoN 05 hug l 0 m m: 56

UNI'I`ED STATES OF AMERICA

 

V.

ERRISS MCCLAIN No. 05cr20252-2-D

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER TI'IE SPEEDY TRIAL ACT

 

The defendant had previously notified the Court that he is attempting to obtain private
counsel to represent him in this action. The defendant appeared this day Without the benefit
of counsel and requested that counsel be appointed.

The Court determined that defendant does qualify for court appointed counsel and
appointed an attorney from the CJA Panel to represent him.

Pursuant to the Speedy Trial Act, as set out in 18 U.S .C. §3161(h)(8)(B)(iv), the time

period of QX[ QJ£ § 5 through /£/// Zé:§ is hereby excluded to

allow defense counsel additional time for effective preparation

 

ARRAIGNMENT IS RESET TO WEDNESDAY, AUGUST 17, 2005 AT 10:00 A.M.

BEFORE MAGISTRATE JUDGE S. THOMAS ANDERSON.

'rhis godday or AV§ a.\+ .2005.

<S’.’H

UNIT D STATES MAGISTRATE JUDGE

   
 

Thls document entered on the docket she
with Hu|e 55 and[or 32(b) FHCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
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Honorable Bernice Donald
US DISTRICT COURT

